    Case 23-01212-MEH          Doc 14-2 Filed 09/25/24 Entered 09/25/24 16:03:57             Desc
                                    Certification Page 1 of 6



    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Law Offices of Andy Winchell, P.C.
    90 Washington Valley Road
    Bedminster, New Jersey 07921
    Telephone No. (973) 457-4710
    andy@winchlaw.com
    By: Andy Winchell [AW-6590]
    Attorney for the Debtor


    In Re:                                               Case No.: 19-19288 (MBK)

    Linda M. Rodriguez                                   Chapter: 13

                                  Debtor



    Linda M. Rodriguez                                   Adv. Pro. No: 23-01212 (MBK)

                                  Plaintiff

                         vs.

    PHH Mortgage Corporation

                                  Defendant




             CERTIFICATION OF BERNARD JAY PATTERSON
      IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

I, Bernard Jay Patterson, being of full age, certify as follows:

         1.     My name is Bernard Jay Patterson, CFE.

         2.     I make this certification in support of the Plaintiff’s Motion for Summary

Judgment (the “Motion”) 1.




1
    Capitalized terms not otherwise defined herein have the same meaning as in the Motion.
Case 23-01212-MEH       Doc 14-2 Filed 09/25/24 Entered 09/25/24 16:03:57           Desc
                             Certification Page 2 of 6



      3.     I have personal knowledge of the matters set forth in this certification and

am prepared to testify about the matters set forth herein.

      4.     I am the owner of Full Disclosure, LLC.

      5.     My business address is 6025 Battle Trail, Little Rock, Arkansas 72223.

      6.     I am a Certified Fraud Examiner and Forensic Accountant. My Curriculum

Vitae is attached hereto as Exhibit #1.

      7.     I have specialized knowledge and experience in forensic and investigative

accounting, auditing, and data analytics specifically related to mortgage loan servicing

transactions, structured finance transactions and mortgage loan/servicer document

forensics. I have practiced as a forensic accountant since 2007 and hold a Certified

Fraud Examiner credential since November 2009. I hold a Bachelor of Science degree

in Accounting from the University of Arkansas at Little Rock. I have testified and/or

been admitted as an expert witness in a variety of jurisdictions, including federal

courts, state courts, and legislative bodies around the country. I have developed

methodologies used in the investigation, examination and analyses of mortgage loan

servicing transactions, structured finance transactions, loan delivery

processes/procedures and document forensics. I have developed methodologies used in

the reconstruction of mortgage servicing accounting data and transactions extracted

from proprietary and third-party systems of record. I have specialized knowledge of the

data output and functions of most major mortgage servicing systems of record

including Loansphere MSP, LSAMS, RealServicing, and Fiserve. I have also developed

methodologies used in the analyses of mortgage servicing transactions in the

bankruptcy context including development of escrow analysis software programs

specialized for application in the bankruptcy area. I am nationally recognized in these

                                           2
Case 23-01212-MEH        Doc 14-2 Filed 09/25/24 Entered 09/25/24 16:03:57            Desc
                              Certification Page 3 of 6



areas and regularly teach attorneys, state attorneys general, county recorders, judges,

and bankruptcy trustees concerning these subjects throughout the country. My primary

job function is to evaluate assertions made by others based on the evidence presented

and discovered. Thereafter, I report and testify as to my analyses and findings. These

investigations, examinations, and analyses include mortgage loan servicer accounting

analyses at the loan level and investor level, processes and procedures regarding the

sale, transfer and conveyance of mortgage loan documents as well as the mortgage loan

servicing process in its entirety

       8.     As a forensic accountant and auditor, I must possess certain

characteristics, such as objectivity and independence. I also must uphold ethical

standards. More specifically, a forensic accountant and auditor must have adequate

training and proficiency gained through formal education, continuing education and

experience. I also must stay current with the latest accounting, auditing, and industry

pronouncements and developments. My qualifications substantially meet and exceed

these standards, especially since my practice is limited to one industry segment.

       9.     I have been hired by the Law Offices of Andy Winchell, P.C. to examine

documents and data related to the Plaintiff’s mortgage loan being serviced by PHH

Mortgage Corporation. More specifically, I will provide forensic accounting and

investigative analyses related to the loan transactions as they relate to corporate

advance transactions.

       10.    I am being paid at my usual and customary rate of $300.00 per hour plus

expenses.

       11.    I have examined the following documents:



                                            3
    Case 23-01212-MEH       Doc 14-2 Filed 09/25/24 Entered 09/25/24 16:03:57                  Desc
                                 Certification Page 4 of 6



               a.      Customer Account Activity Statements-PHH Mortgage dated

               02/15/2023 for the dates 01/01/2019 – 02/15/2023.

               b.      Corporate Advance History Screens.

               c.      Monthly mortgage statements – PHH Mortgage 09-07-2023 to

               08/06/2024.

               d.      Payoff Quote – dated 02/10/2023.

               e.      Notice of Post petition Mortgage Fees, Expenses, and charges filed

               10/23/2019.

               f.      Notice of Post petition Mortgage Fees, Expenses, and charges filed

               01/21/2020.

        12.    I completed a reconciliation of the corporate advance transactions 2

(Recon) reconstructed from the 2019-2023 payment histories and the Corporate

Advance History Screens. This reconciliation is attached as Exhibit #2.

        13.    Debtor’s Counsel has asserted to me that $1,050.00 in recoverable

corporate advances should have been removed from the loan in accordance with a

previous settlement agreement. The $1,050 remaining from December 2020 has not

been removed from the Mortgage Loan according to any documents that I have

examined.

        14.    From 06/24/2019 to 10/30/2019, the Plaintiff added a total of $1400.00

in recoverable corporate advance disbursements (RECON Lines 2,4,5,8) that remained

recoverable in the Mortgage Loan until December 2020. In December 2020 the


2
  Corporate Advance disbursements are charges the loan servicer advances for various expenses relating
to the servicing of the loan such as attorney fees, costs, property inspection fees. Corporate advance
transactions are coded as either Recoverable, Non-Recoverable, or Third-Party recoverable. Recoverable
corporate advances are generally recoverable from the borrower. Non-Recoverable corporate advances
are generally not recoverable from the borrower.

                                                  4
Case 23-01212-MEH        Doc 14-2 Filed 09/25/24 Entered 09/25/24 16:03:57         Desc
                              Certification Page 5 of 6



Defendant adjusted the amounts and coding to leave only recoverable corporate

advance balance of $1,050.00. (Recon Line 31) This balance of $1,050.00 has remained

a recoverable corporate advance within the loan up to and including the latest

mortgage statement date 08/06/2024.

      15.      The $1,050.00 is visible on multiple documents from 2020 to 2024.

      16.      The corporate advance balance is shown in the payment history on

01/01/2021, 01/01/2022, and 01/01/2023 in the amount of $1,050.00. (Exhibit #3,

highlighted)

      17.      The Defendant’s Corporate Advance Disbursement screen dated

12/07/2023 shows $1,050.00 listed as “Mortgagor Recoverable” meaning recoverable

from the borrower. (See Exhibit #4, highlighted)

      18.      My examination of PHH’s monthly mortgage statements from 09/2023 to

08/2024 each show “Outstanding Unpaid Fees, Returned Item Charges and Shortage”

= $1,050.00. (See Exhibit #5, highlighted)

      19.      My examination of PHH’s Payoff statement dated 02/10/2023 shows the

“Total Payoff Amount due by 03/31/2023” = $174,429.82. Included in this payoff total

is $1,050.00 described as “Recoverable Balance”. (Exhibit #6)

      20.      My investigation, examination and analyses of the transactions show that

$1,050.00 in recoverable corporate advances remain on the account from December

2020 through August 2024. The $1,050.00 is shown as part of the amount due in each

monthly statement sent to the borrower. The $1,050.00 is further shown as being

included in a larger amount due to pay off the loan. Unless PHH removes the

$1,050.00, I would expect that any future loan history or payoff statement would

include this amount as due. As such, any potential future refinance of the property

                                            5
Case 23-01212-MEH        Doc 14-2 Filed 09/25/24 Entered 09/25/24 16:03:57        Desc
                              Certification Page 6 of 6



might be compromised by the appearance that the Plaintiff was behind on her

mortgage loan payments. At a minimum, any payoff statement likely would contain the

$1,050.00 and therefore she would be required to pay it if she were to refinance or sell

the property.

      21.       Further examination shows PHH added $20,718.83 in recoverable

corporate advance disbursements on 01/05/2023 (Recon Lines 102-103). These

amounts were removed from recoverable status 53 days later on 02/27/2023 (Recon

Lines 110-112).



      I certify that the foregoing statements made by me are true. I am aware that if

any of the foregoing statements made by me are willfully false, I am subject to

punishment.




Dated this 25th day of September, 2024.



 /s/ Bernard Jay Patterson
Bernard Jay Patterson




                                           6
